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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OKLAHOMA


  (1)   LARRY HOLLAND, as Special
        Administrator for the Estate of
        Larry Holland, deceased,

                      Plaintiff,
                                                 Case No.: 19-CV-663-CVE-JFJ
  v.

  (2)   TURN KEY HEALTH CLINICS,
        LLC, et al.

                      Defendants.


             PLAINITFF’S RESPONSE TO MOTION FOR PROTECTIVE ORDER


        Pursuant to Fed. R. Civ. P. 7.2(e), Larry Holland as Special Administrator for

  the Estate of Floyd Holland (Estate) submits this Response to Turn Key’s Motion for

  a Protective Order. (Doc. 17).

        1.      Turn Key waived its right to seek a protective order covering the

  mandatory disclosure of its insurance policy; its motion is neither timely nor

  “seasonable.”

        2.      Turn Key violated LCvR 26.2 by failing to provide a copy of the policy

  with its motion to dismiss filed December 23, 2019. (Doc. 7).

        3.      Turn Key also failed to request a protective order prior to expiration of

  the time to comply with LCvR 26.2.

        4.      Turn Key also failed to timely or seasonably file a motion for protective

  order following expiration of the deadline to comply with LCvR 26.2.
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        5.      Turn Key did not argue or show excusable neglect to support non-

  compliance with LCvR 26.2. See Fed. R. Civ. P. 6(b)(1)(B) (“When an act may or

  must be done within a specified time, the court may, for good cause, extend the

  time: . . . (B) on motion made after the time has expired if the party failed to act

  because of excusable neglect.”)

        6.      By failing to argue or show excusable neglect for non-compliance with

  LCvR 26.2, Turn Key failed to trigger the procedural mechanism to grant the relief

  requested relative to its policy.

        7.      Estate submits that Turn Key did not argue excusable neglect because

  it lacks a non-frivolous basis to support that argument.

        8.      For example, on January 10, 2020, Estate notified Turn Key that it’s

  disclosure under LCvR 26.2 was “almost 3 weeks past due.” (See Ex. 1).

        9.      Turn Key did not timely or seasonably file a motion after receiving the

  email, nor did it produce the policy.

        10.     The motion for protective order relative to the insurance agreement is

  untimely, the failure to comply with the rule is not supported by excusable neglect,

  and the request for a protective order is subject to waiver. See e.g., 6 James Wm.

  Moore, Moore’s Federal Practice, § 26.102[2] (2007) (“[a]lthough Rule 26(c) is silent

  as to the time within which a protective order must be made, the courts have

  imposed the requirement that the motion be timely or ‘seasonable.’”).

        11.     Turn Key’s motion relative to the policy is neither timely nor

  seasonable.



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           12.    Assuming the Court considers the merits, Turn Key has not

  demonstrated the need for a protective order through any non-conclusory

  assertions. See San Jose Mercury News, Inc. v. United States District Court, 187

  F.3d 1096, 1102 (9th Cir. 1999) (holding that to gain a protective order the party

  must make “particularized showing of good cause with respect to any individual

  document”), Beckman Indus., Inc. v. International Ins. Co., 966 F.2d 470, 476 (9th

  Cir.1992) (holding that “broad allegations of harm, unsubstantiated by specific

  examples or articulated reasoning, do not satisfy the Rule 26(c) test”).

           13.    Estate contends the motion lacks merit and respectfully requests the

  Court deny the same, and enter such other relief as the Court deems just and

  equitable.1

                                            Respectfully submitted,

                                            BRYAN & TERRILL


                                            s/J. Spencer Bryan
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      Estate does not otherwise object to entry of a blanket protective order.
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